                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 163 Filed 05/20/21 Page 1 of 2 Page ID #:4290



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T ROUTMAN P EPPER H AMILTON S ANDERS LLP




                                                                                                                                           UNITED STATES DISTRICT COURT
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                                                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                                                                   WESTERN DIVISION
                                           5 PARK PLAZA
                                                          SUITE 1400




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                                                                                                                      HONG LIU,                                Case No. 2:20-cv-08035-SVW-JPR
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                                                                                                                                     Plaintiff,                The Honorable Stephen V. Wilson
                                                                                                                 16
                                                                                                                            v.                                 ORDER GRANTING JOINT
                                                                                                                 17                                            STIPULATION RE DISCOVERY
                                                                                                                      FARADAY&FUTURE INC.,                     AND PRE-TRIAL DATES
                                                                                                                 18   SMART KING LTD., JIAWEI
                                                                                                                      WANG, and CHAOYING DENG,
                                                                                                                 19
                                                                                                                                     Defendants.
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                                                                                                                 21 AND RELATED COUNTERCLAIM
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                                                                                                                         [PROPOSED] ORDER GRANTING JOINT STIPULATION RE DISCOVERY AND PRE-TRIAL DATES
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                                                                                                                  1           Pursuant to the parties’ Stipulation, and good cause shown, the Court grants
                                                                                                                  2   the Stipulation and sets the following dates:
                                                                                                                  3                      Event                                Deadline
                                                                                                                  4    Last Day to File and Serve Plaintiff’s         May 19, 2021
                                                                                                                       Cross Motion for Summary Judgment
                                                                                                                  5    Last Day to File and Serve Defendants’         June 3, 2021
                                                                                                                  6    Opposition to Cross Motion for
                                                                                                                       Summary Judgment
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                                                                                                                       Last Day to File and Serve Plaintiff’s         June 10, 2021
                                                                                                                  8    Reply in Support of Cross Motion for
                                                                                                                       Summary Judgment
                                                                                                                  9
                                                                                                                       Hearing on Plaintiff’s Cross Motion for        June 21, 2021 at 1:30 p.m
                                                                                                                 10    Summary Judgment
T ROUTMAN P EPPER H AMILTON S ANDERS LLP




                                                                                                                       Daubert and in limine motion deadline          June 28, 2021
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                                                                                                                              IT IS SO ORDERED.
                                           5 PARK PLAZA
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                                                                                                                      Dated: May 20, 2021
                                                                                                                 15                                           HON. STEPHEN V. WILSON
                                                                                                                                                              UNITED STATES DISTRICT JUDGE
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                                                                                                                          [PROPOSED] ORDER GRANTING JOINT STIPULATION RE DISCOVERY AND PRE-TRIAL DATES
